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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Kimberly Sue Lopez
                                                          Plaintiff,
v.                                                                        Case No.:
                                                                          1:25−cv−00457
                                                                          Honorable John J.
                                                                          Tharp Jr.
Illinois Department of Healthcare and Family
Services, et al.
                                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 1, 2025:


         MINUTE entry before the Honorable John J. Tharp, Jr:The Court has reviewed the
plaintiff's "emergency verified petition for writ of habeas corpus on behalf of minor child
B.P.L.A." [49], which purports to seek federal habeas relief on behalf of the plaintiff's
minor daughter. Because the petition is "unrelated to the claims in [the] original
complaint," it is denied. Decker v. Fed. Bureau of Prisons, No. 21−cv−00253, 2022 WL
18674885, at *1 (S.D. Ind. Aug. 2, 2022). In the complaint, the plaintiff alleges that
various Illinois entities suspended her professional license in violation of 42 U.S.C. §
1983, and she seeks damages and an order directing reinstatement of the license. In the
petition, by contrast, the plaintiff alleges that her daughter was unlawfully removed from
her care and seeks an order restoring custody. Issues with the relief sought aside (a proper
habeas petitioner is typically a prisoner, and a proper respondent is the person with
custody over the prisoner), the plaintiff "cannot repurpose this case number for a
completely different lawsuit" seeking new relief based on new facts. Id.; see Payne v.
Illinois, 485 F. Supp. 2d 952, 952−53 (N.D. Ill. 2007). The plaintiff&#0;39;s suggestion
that her habeas petition and her complaint seek the same relief because both involve the
restoration of "federally protected rights to familial integrity, due process, and equal
protection" is unavailing. It is unlikely that the Court will grant leave to amend to include
habeas or custody claims, see Fed. R. Civ. P. 15(a)(2); id. R. 20(a)(2) (joinder of new
defendants requires the same transaction or occurrence or a common question of law or
fact), so if the plaintiff wishes to pursue those claims, her best course may be to "initiate a
[separate] action by filing a separate complaint," Decker, 2022 WL 18674885, at *1. In
the meantime, the habeas petition is denied, and the motion to expedite a hearing on the
habeas petition [48] is denied as moot. The Court separately notes that the plaintiff filed
her petition and motion [48] [49] under seal, which is improper without leave of Court.
Unless the plaintiff provides an explanation, by 5/9/25, as to why these documents must
remain under seal, the Court will direct the Clerk to unseal them. Future sealed documents
must be accompanied by a motion for leave to file under seal. Mailed notice(air, )
  Case: 1:25-cv-00457 Document #: 51 Filed: 05/01/25 Page 2 of 2 PageID #:546




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